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WESTERN DISTRICT OF WASHINGTON

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COMPLAINT FOR VIOLATION
10 ~ OF CIVIL RIGHTS
_ _ (for use only by plaintiffs not in
v.
12 Jury Trial: [BM [:| No

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MQA;;_£E&£LAL ET_ AL

15 b Defendant(s).
1 6

, I. THE PARTIES TO THIS'COMPLAINT
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A. Plaintitl`(s)

1 8

Provide the information below for each plaintij" named in the camplaint. Attach
19 additional pages if needed. ~ '

 

 

 

 

 

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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS - 1 "`

 

 

 

 

 

 

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B. Defendant(s)

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency an organization or a corporation F or an
individual defendant, include the person 's job or title (ifknown). Attach additional pages if
needed.

Defendant No. 1

N"m°` FP; m/m/A sEmE/\)T,a_I/VC~
Job or Titlc (ifknown) a -'- CORpG@/I T_';o/U 5 y §1’&'/}'1
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Stateandzipcode WASHIMQ_T¢QA/. 6]?50(

Telephone Number (3 (70\ 3 5 7 _ 6 7 34
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Defendant No. 2

Name /Vle. SHA A/A/oA/ bus?_`z:»l

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Sm‘°““dzmc°d° egger FORA)LA\ 515-§ 30

, TelephoneNumber (e’,é) 357, 5300 EX']j 473
E/lndividual capacity cl official capacity

Defendant No. 3

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State,and Zip Code WQ$ f !I! !G :0/\/ ‘LZ/ 33

TelephoneNumber /?`06) 364 _3700
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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS - 2

 

 

 

 

 

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Defendant No. 4

 

 

 

 

Name _ _ mg, CIAlD‘/ H 14ng

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scare and zip cadc 2 1233

 

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TelephoneNumber (;`Oé\ 3 éj+ _ 37 00
121 mdividual capacity b 0111c1a1 capacity

II. PREVIOUS LAWSUITS

Have you brought any other lawsuits in any federal court in the United States:?

 

@’No |:1 Yes If yes, how many?

Describc the lawsuit:

 

 

 

 

Parties to this previous lawsuit

 

 

 

 

Plaintiff(s)

 

 

COMPLAI`NT F\OR VIOLATION OF ClVIL RIGHTS ' 3

 

 

 

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B. Continued, Defendant(s)

DEFENDANT NO. 5

Name Kristgpher Williamson

Job or Tit|e (if known) Leasing |\/lgnager

Street Address 14200 Linden Av§. N. (Last Known Address)
City and County Seattle Kin ount

State and Zip Code Washington, 98133
Te|ephone Number (206) §64-3700
X |ndividua| capacity Oft"icia| capacity

DEFENDANT NO. 6

Name Rita Ardeiente

Job or Title (if known) Compliance Sgecia|ist

Street Address 14209 Lind§n Ave. N. ( Last Known Addre§s)
City and County S§dttlel King County

State and Zip Code Wa§hington, 9813§
Telephone Number (206) 364-3700
individual capacity X Official capacity

DEFENDANT NO. 7

Name Mirza Hadiaravic

Job or Tit|e (if known) l\/laintenance Supervisor
Street Address 14200 Linden Ave. N.
City and County Seatt|e Kin ount

State and Zip Code Washington, 98133
Telephone Number (206) 364-3700
X individual capacity Official capacity

DEFENDANT NO. 8

Name Brannden Francisco

Job or Tit|e (if known) Q§rtification Specia|ist-Z
Street Address 190 Queen Anne Ave. N.
City and County Seattle, King Cognty

State and Zip Code Washington 98133
Telephone Number §206) 239-1728
individual capacity X Of'ficial capacity

 

 

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DEFENDANT NO. 9

Name Michaei thn 1

Job or Titie (if known) Enforcement Manager
Street Address §10 Third Ave.l Suite 750
City and County Segttie, King County

State and Zip Code Washington 98104
Te|ephone Number (206) 684-4500
individual capacity X Officiai capacity

DEFENDANT NO. 10

Name Patricia Laily
Job or Titie (if known) ir tor for a tie ffi of Civi| Ri hts
Street Address 810 Third Avg., Suite 750

City and County §eattlel King County
State and Zip Code Washington 98104

Telephone Number (206) 684-4500
individual capacity X Ofticiai capacity

DEFENDANT NO. 11

Name Kristopher Diiiard
Job or Titie (if known) Com iian e eciaiis
Street Address 14200 Linden Ave. N

City and County §Q§ttie, King Qougty
State and Zip Code Washin ton 8133

Teiephone Number (206) 364-3700
X individual capacity Officiai capacity

 

 

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Defendant(s)

 

 

 

 

(If there is more than one previous lawsuit, describe the additional lawsuits on another
piece of paper using the same outline Attach additional sheets, if necessarjy)

Court and name of district:

 

Docket Number:

 

Assigned Judge:

 

Disposition: (For example, was the case dismissed as frivolous or for failure to state a

claim? Was it appealed? Is it still pending?)

 

 

 

Approximate filing date of lawsuit:

 

Approximate date of disposition:

 

III. BASIS FOR JURISDICTION
Under 42 U.S.C. § 1983, you may sue state or local ofiicials for the "deprivation of any

rights, privileges, or immunities secured by the Constitution and [federal laws]." Under Bivens

 

 

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS - 4

 

 

 

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v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may

sue federal officials for the violation of certain constitutional rights.

A.

Are you bringing suite against (check all that apply):

\:I Federal officials (a Bivens claim)

lZl/ State Or local officials (a § 1983 claim)

Section 1983 allows claims alleging the "deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are
suing under section 1983, What federal constitutional or statutory right(s) do you claim

is/are being violated by state or local officials?

 

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Plaintiffs suing under Bivens may only recover for the violation of certain constitutional
rights. If you are suing under Bivens, What constitutional right(s) do you claim is/are

being violated by federal officials?

/l// A

 

 

 

Section 1983 allows defendants to be found liable only When they have acted "under
color of any statute, ordinance, regulation, custom, or usage, of any State or Territory
or the District of` Columbia." 42 U.S.C. § 1983. If you are suing under section 1983,

explain how each defendant acted under color of state or local law. If you are suing

COMPLAINT_ FOR VIOLATION OF CIVIL RIGHTS - 5

 

 

 

 

 

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under Bivens, explain how each defendant acted under color of federal law. Attach

additional pages if needed.

 

 

 

 

IV. STATEMENT OF CLAIM
State as briefly as possible the facts of your case. Describe how each defendant was personally
involved in the alleged wrongful action, along with the dates and locations of all relevant events.
You may wish to include further details such as the names of other persons involved in the events
giving rise to your claims. Do not cite any cases or statutes. If more than one claim is asserted,

number each claim and write a short and pla1n statement of each claim in a separate paragraph
Attach addltzonal pages if needed

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A. Where did the events giving rise to your eleim(s) ooonr?
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B. What date and approximate time did the events giving rise to your elaiin(s) oeenr?
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,C. What are the facts underlying your elaiin(s)? (For exomple.- What happened to you?

Who did what.7 Was anyone else 1nvolved 7 Who else saw what happened 7)

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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS - 6

 

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HOUS|NG RAC|AL DlSCRlMlNAT|ON CLAlM

On September 27, 2013, plaintiff (an african american male), moved into the Tressa
Apartments. On June 13, 2016, plaintiff went into the managment office and spoke with
defendant Ardeiente-Tressa Compliance Speciaiist, requesting a transfer from his studio in unit
4498 to a one-bedroom apartment in unit 620B. Defendant Ardeiente gave plaintiff the
necessary paperwork to fill out and plaintiff paid the $99.00 application fee. Defendant Ardeiente
informed plaintiff that he always paid his rent on time and has never caused any problems and
would only have to wait until the old residents move out on the first of the month. Defendant
Ardeiente also informed plaintiff that she would be leaving for a new job soon, but plaintiff would
be approved to move into the one bedroom (Unit 6203). Towards the end of the month on or
about June 17, 2016, plaintiff went into the management office and spoke with Defendant
Willlamson-Leasing Manager, concerning the status of his transfer; while sitting at defendant
Wil|iamson desk, plaintiff notice a white female passing by and turned to glance at her; when
plaintiff turned back to defendant Williamson(a white male), the expression on his face as well
as his attitude changed immediately. Defendant Wil|iamson then informed the plaintiff that he’s
not giving him the one bedroom. P|aintiff then asked defendant Wil|iamson why not, but he
refused to give him a reason. P|aintiff then ask defendant Wil|iamson to speak to someone over
him. P|aintiff was notified by defendant Perrin that he needed to have an inspection on his Unit
4498. P|aintiff asked defendant Perrin what day the inspection would take place so that he can
be home and was told she would let him know when. Between June 17th and the 24th plaintiff’s
apartment was inspected while he was at work. P|aintiff was told that he failed inspection due to
bleach stains in his carpet. P|aintiff immediately confronted defendant Hadjaravic-l\/laintenance
Supervisor informing him that these bleach stains weren’t there when he left for work. P|aintiff
accused defendant Hadjaravic of sabotaging his carpet to keep him from moving to the one
bedroom. Defendant Perrin informed plaintiff that he was denied, but afterwards informed the
plaintiff that if he uses his deposit to pay for the carpet she would reconsider. P|aintiff also
informed defendant Perrin that the carpet wasn't new anyway when he moved in and that the
carpet had just been ciean. Defendant Perrin falsified her response to the plaintiff verbally by
saying the carpet was new when he moved in and i would have to stay in Unit 4493 at least 7
years in order not to pay for the bleach stains. P|aintiff later agreed to pay just to move into a
bigger apartment On June 24, 2017, defendant Perrin informed plaintiff that he needed to fill
out another Residential Eligibiiity Appiication and Employment income Verification form. Around
mid Juiy 2016, plaintiff asked his former employer l\/ir. Sengstock could he give him his emaii
address so that the Tressa management could emaii him the Employment income Verification
form. Mr. Sengstock agreed to give plaintiff the emaii address and plaintiff gave it the defendant
Wiliiamson. A few days later plaintiff called the management office to inquire about his move
and was informed by a female via phone conversation that i wasn't authorize to turn in the
Employment income Verification Form, and that Mr. Sengstock was suppose to emaii it back to
them. P|aintiff went to work the next day and ask Mr. Sengstock could he emaii the verification
form; Mr. Sengstock then got angry with plaintiff stating he don’t have time. As a result of
defendants Wil|iamson and Perrin actions on or about Juiy 25, 2016, plaintiff was fired from his
job working for Mr. Sengstock. On july 29, 2016, defendant Perrin denied plaintist application

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to rent UnitGZOB. P|aintiff states that Unit 6208 was rented to tenants outside his protected
class. Between the months of Juiy 2016 and May 2017 plaintiff filed about 3 complaints with FP|
management office in Folsom Caiifornia. P|aintiff has left defendant Dustin-Executive Director of
Tressa management, several voicemaiis concerning the actions of defendant Wil|iamson, Perrin
and Hager, and as of today, plaintiff have not received a response.

On June 19, 2017, plaintiff filed a complaint with the Seattle Ofi"lce of Civii Rights (“SOCR") and
the Department of Housing and Urban. P|aintiff received an Acceptance Letter dated June 20,
2017, from the U.S. Department of Housing and Urban Deveiopment informing him that his
complaint was referred by their oche to the Seattle Office for Civii Rights for investigation as
required by the Act [42 U.S.C. 3610(f)j. Plaintiff’s interview was with defendant
Chin-Enforcement Manager for the Seattle Office for Civii Rights. According to the investigatory
information given to defendant Laiiy-Director for Seattle Office of Civii Rights, by defendant
Chin, there were dates and years of events wrong. They used apartment 602B to'iilustrate;
plaintiff applied for apartment 620B. P|aintiff states that defendant Chin investigation was
inadequate and bias against the plaintiff On October 26, 2017, defendant Laily denied piaintiff’s
claims. P|aintiff filed an appeal before the Seattle Human Rights Commission Appeals
Committee and was denied on January 18, 2018.

RETAL|AT|ON CLA|M lN VIOLATION OF THE FlRST AMENDMENT

On or about December 2016, plaintiff started being a victim of noise from the upstairs
neighbor(549B), with constant banging on the floor every night between the hours of 9pm to
6am. During the months of January 2017 through December 2017 plaintiff first tried talking to
the upstairs neighbor about the noise and he would say ok and stop for a day or two and start
banging on the floor all day and night. During this time plaintiff was standing at the upstairs
apartment asking him to hold the noise, while standing there plaintiff notice that the upstairs
neighbor whole entire studio floor was covered with shoes, pots and pans. P|aintiff has over 2 ‘/2
years of noise complaints he filed with the Night Security Supervisor via phone call and
voicemails. P|aintiff states the night security guard nor his supervisor address the noise coming
from plaintiffs upstairs neighbor(549B). P|aintiff has also filed several noise complaints with
defendant Hager and other staff members working those days, but nothing was done to stop
plaintist upstairs neighbor from harassing him with constant around the clock noise for over 2
‘/2 years. Computer records and phone records will show that plaintiff left numerous complaints
to defendant Dustin but received no response.

The second act of retaliation started when defendant Hager falsely accuse the plaintiff for not
paying his rent. P|aintiff received at letter dated Juiy 19, 2017, from defendant
Francisco-Certification Specialist il, informing the plaintiff that Seattle Housing Authority has
annualized the calculation of his income beginning 6/1/17. P|aintiff spoke with defendant
Francisco about the matter via phone conversation and emaiis; Defendant Francisco sent
plaintiff a copy of the Contract Amendment of plaintiffs lease, also informing the plaintiff he sent
defendant Hager copy Juiy 27, 2017. P|aintiff states that defendant Hagar’s copy is dated Juiy

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26, 2017. The amendment mainly explain that plaintiffs Family Rent Portion is $167.00,
effective June 01, 2017. Between the months of September and October 6, 2017, plaintiff
received several notices from defendant Hager stating “3-DAY NOT|CE TO PAY RENT OR
VACATE (SECT|ON 8); falsely accusing plaintiff of owing $745.00 for back rent. P|aintiff went to
the management office to talk to defendant Hager several times showing her his copy proving
that his rent had decreased and he owes less money not more and informing defendant Hagar
that defendant Francisco informed him that he sent you your copy by U.S. mail and emaii in Juiy
or August and there’s no way you should not have received it. During the months of September
and Octoberi informed defendant Hagar that defendant informed me that you should have been
received your copy. Defendant Hager refused to try to get in touch with defendant Francisco to
confirm the information that was presented to her by the plaintiff. P|aintiff tried to give defendant
Hager a copy but she refused to take it saying she needed to here from Housing. On October
11, 2017, plaintiff received a “FlNAL EV|CT|ON WARN|NG” stating plaintiffs residency was in
jeopardy and that plaintiffs resident file will be turned over to their attorney’s Friday October 13,
2017 at 10am; and additional legal intake fees of $125.00 will be charged to plaintiffs account.
This letter was signed by defendant Hager. P|aintiff states that he tried to get defendant
Francisco to be a witness for him with the Seattle Office for Civii Rights, but defendant
Francisco stop returning plaintiffs phone calls and voicemaiis.

The third form of retaliation from defendant Hager happened on February 23, 2018; plaintiff
went to the management office to inquire about a "Priority Niail” package (transcript), that was
mailed from l\/ls. Rose Landburg-Transcriptionist and received and signed for by Tressa
management office Tuesday 13, 2018, at 2:57pm. Plalntiff states that defendant Hager went into
the office cabinet and handed plaintiff a 10 day late Priority Maii from l\/is. Landburg; and
another piece of Priority Maii received by on or about June 29, 2017; that defendant Hager
possibly signed for and put in the office cabinet for over 8 months, before giving it to the piaintiff.
Defendant Hager then stated “it’s not her job to give plaintiff his maii. Plalntiff then stated to
defendant Hager that this is not right and a crime to hold Someone’s Priority Maii and take it out
of plain view and stick it in a office cabinet never to be found again. Plalntiff then stated to
defendant Hager that she could have easily given it back to the mailman and told him to do his
own job.

The fourth form of retaliation happened on May 11, 2018, around 6pm while plaintiff and another
tenant was in the Cabana using the Tressa Residents free WiFl. Eariier this same day plaintiff
went into the management oche to complain about a letter he received for the second time in
60 days (10-DAY NOT|CE TO COi\/iPLY OR QU|T PREM|SES), concerning noise coming from
plaintiffs apartment. P|aintiff informed defendant Diliard-Compliance Specialist that he’s too old
to making noise he lives aione. Plalntiff then informed defendant Diliard that he was at work
when the complaint was made. P|aintiff then asked that an investigation be ran to find out
exactly who is making these false noise complaints against him. Defendant Diliard and Hager
informed the plaintiff that is not the ladies that live east and west of the plaintiff apartment, nor is
it the tenants who live over nor below him. P|aintiff then accused FP| management for filing false
noise complaints against him. Later that evening around 6pm plaintiff and another tenant was

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using the WiFi when defendant Diliard right before office closing (6pm), cam into the Cabana 3
times looking around. After the third time defendant Diliard left out of the Cabana he
intentionally turned off the WiFl. P|aintiff and the other tenant agreed that the WiFi never went
off after the office closed for the end of the day, Plalntiff the next day, went to defendant Hager
office to complain about defendant Diliard office turning off the WiFi and the noisy neighbor
coming from upstairs and as soon as the plaintiff got in front of her office door defendant Hager
raised up hand and said she didn’t want to here it.

p/j(’ré FoiA/Q

 

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V. INJURIES

If you sustained injuries related to the events alleged above, describe your injuries and state
what medical treatment, ifany, you required and did or did not receive. `

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1141-ego ev agrewa /194@€/€ 400 07716@.

 

VI. RELIEF
State briefly what you want the court to do for you. Make no legal arguments Do not cite any

cases or statutes If requesting money damages, include the amounts of any actual damages
and/or punitive damages claimed for the acts alleged Explain the basis for these claims.

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VII. CERTIFICATION AND CLGSING

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint (l) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or
reversing existing law; (3) the factual contentions have evidentiary Support or, if specifically so
identified, will likely have evidentiary support after a reasonable opportunity for further
investigation or discovery; and (4) the complaint otherwise complies with the requirements of

Rule 11.

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS - 7

 

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I agree to provide the Clerk's Office with any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on file with the

Clerk's Office may result in the dismissal of my case.
Date of signing: VQ»¢,¢,L;; 5; 2 0 lg
signature of Plaintiff y Mwu;, fda/tm
Printed Name of Plaintiff HE/\/K\/ 671/mg 3

Date of signing:

 

Signature of Plaintiff

 

Printed Name of Plaintiff

 

Date of signing:

 

Signature of Plaintiff

 

Piinted Name of Plaintiff

 

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS - 8

 

 

 

